Case 1:12-cv-OOOOB-CG-B Document 1 Filed 01/06/12 Page 1 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ALABAMA

SOUTHERN DIVISION

JENE W. OWENS, SR., ="
Plaintiff, "'

vs. * CASE No.: ll' OQO@ 5
etc
DCM SERVICES, LLC, and "‘
OMNICARE-UNICARE, INC., *
Defendant. ='=

COMPLAINT

COl\/IES NOW Plaintiff_. lene W. Owens, Sr., (hereatier “Plaintiff"’) by counsel, and l"or his

Coniplaint against the Defendants, alleges as follows:
JURISDICTION

l. This action includes claims which arise under the statutes of the United States and
this Court’sjurisdiction is conferred by 28 U.S.C. § 1331, 15 U.S.C. § 1692k(d) and 28 U.S.C. 1367.
This action also includes state law claims as to which this Court has pendant j urisdiction.

PARTIES

2. 'l`he Plaintil"f is a natural person and resident of the Mobile County, Alabarna. He is
a "consumer” as defined by 15 U.S.C. § 1692a(3).

3. Det"endant Dl\/[C Services, LLC. ("DMC"), is a foreign corporation that has its
principal place of business in the state of l\/Iinnesota. DMC is a "debt collector” as defined by the
15 U.S.C. § 1692a(6).

4. Det"endant Omnicare-Unicare, lnc. ("Omnicare"), is a foreign corporation that has

its principal place of business in Florida. Ornnicare is a “debt collector” as defined by the 15 U.S.C.

§ 1692&(6).

Case 1:12-cv-OOOOB-CG-B Document 1 Filed 01/06/12 Page 2 of 10

FACTS

 

5. Plaintiff is a retired Federal Bureau of Investigation Special Agent. On October 10,
2010 Plaintiff's wife, Janice Owens, passed away after a prolonged illness.

6. Beginning on February 28, 201 1, defendant Omnicare began sending bills to Plaintiff
demanding payment for services rendered by a third-party medical provider to Mrs. Owens. The
bills were addressed to Plaintiff and demanded payment by Plaintiff of over $5,900.00 in expenses
allegedly incurred while Mrs. Owens was receiving medical care from third-party providers Upon
information and belief, the alleged debt relates to medical services provided by an entity other than
Omnicare and Omnicare was at all times attempting to collect a debt owed to a separate entity.

7. On April 19, 2011 Gene Owen, Jr., Plaintiff‘s son, wrote a letter on behalf of his
father to Defendant Omnicare explaining that the bills that had been received by Plaintiff pertained
to services rendered to Mrs. Owens. The letter further explained that Mrs Owens died on October
10, 2010 and that no estate had been opened. The letter also explained that Plaintiff had recently
suffered a stroke and was unable to handle his affairs This letter constitutes direct notice to
Defendant that the alleged debt is not owed by the Plaintiff and that no estate was opened for
Mrs. Owens. Therefore, Defendant knew or reasonably should have known that any legitimate
further collection of the alleged debt should be made through legitimate probate channels This
would include any creditor's right to open an estate for a deceased for the purposes of collecting a
debt and filing a claim in the estate.

8. Despite receiving said notice, Defendant Omnicare continues to submit bills directly
to Plaintiff for medical services rendered to Mrs. Owens. A demand for payment in the amount of
$5,934.20 Was sent on or about April 30, 201 l. Subsequent demands were mailed May 31, June 30,
August 31 and November 20, 2011.

9. On or about May 16, 2011, Plaintiff wrote another letter to Defendant Omnicare
again explaining that the debt referenced in the invoices is not owed by him but rather was incurred

for services provided to his deceased wife.

Case 1:12-cv-OOOOB-CG-B Document 1 Filed 01/06/12 Page 3 of 10

10. Rather than cease its attempts to collect money from Plainti ff which it knew this was
not owed by Plaintiff, Defendant Omnicare referred the account to Defendant DCM for collection.
DCM is a debt collector which specialized in the collection of debts incurred by estates. Upon
information and belief, this referral Was made with instructions to collect directly against Plaintiff.

1 l. On May 25, 201 l Defendant DCM sent a letter to Plaintiff addressed to "The Estate
of J anice Owens." The letter begins with an acknowledgment that Mrs. Owens is deceased but goes
on to state that $5,934.20 is owed "on this account." The letter implies that this debt is subject to
"interest, late charges, and other charges." Upon information and belief, any debt incurred by
Mrs. Owens resulting from medical services provided to her was not subject to any late charges.
However, the letter implies that the delay in payment of that amount will result from an increase in
the amount of the debt owed. (A copy of the letter is attached hereto as Exhibit “A”).

12. The May 25th DCM letter states "if a probate matter has been opened, please accept
this letter as notice of a claim on behalf of our client."

13. Whether a probate estate has been opened for Mrs. Owens is a matter of public
record and that information is available to DCM. Further, the letter does not mention or reference
the possibility that there is no personal representative of the estate because no estate has been
opened. Rather, the letter implies that the recipient has a legal obligation to pay the debt on behalf
of the deceased.

14. The letter is confusing, misleading and written with the intent to induce a surviving
spouse to pay debts incurred by the deceased which are not owed by the surviving spouse. The
attempted collection of a debt owed by a deceased person directly against the surviving spouse is
outside of the legitimate avenues for collections available to creditors with regard to such debts. If
an estate has not been opened, a creditor has the right to open an estate under Alabama law for the
purposes of collecting a debt against the property of the estate. If an estate has been opened, the
proper procedure for collecting any sums owed by the deceased is by filing a claim in probate court

against the estate. The DCM letter is intended as a means to circumvent those legitimate avenues

_3-

Case 1:12-cV-00005-CG-B Document 1 Filed 01/06/12 Page 4 of 10

for collection by inducing a surviving spouse into payment of sums not owed directly to the creditor
so that he creditor avoids the expense and delay involved in pursuing collections through the
legitimate process outlined above.

15. On or about June 6, 201 1, Plaintiff wrote a letter to Defendant DCM in response to
the May 25th letter in which Plaintiff stated again that no estate had been opened for Mrs. Owens and
that he did not intend to open any estate. On information and belief the dispute letter or the fact of
Plaintiffs dispute was relayed by DCM to Defendant Omnicare..

16. Nevertheless, Defendant Omnicare continued to send demands for payment
addressed directly to Plaintiff in the amount of $5,934.20. On June 13, 2011 Plaintiff again wrote
to Defendant Omnicare explaining that he did not owe and that no estate was opened for
Mrs. Owens. Defendant Omnicare nevertheless continues to send periodic demands for payment
directed directly to Mr. Owens in an attempt to induce him to pay sums not owed by him. Such
notices were mailed on May 31, 2011, June 30, 2011, and August 31, 2011. An example of such

notice is attached hereto as Exhibit “B”

COUNT ONE
(Fair Debt Collections Practices Act Violations - Defendant DCM)

17. Plaintiffrealleges and incorporates each of the preceding paragraphs as if fully set out
herein.

18. This is a claim asserted against Defendant DCM for multiple violations of the federal
Fair Debt Collections Practices Act, 15 U.S.C. § 1692 et seq. (the “FDCPA”).

19. Defendant DCM is a “debt collector” as defined by the FDCPA, 15 U.S.C. §
1692a(6). The alleged debt which DCM attempted to collect from Plaintiff is a “debt” as defined
by the FDCPA, 15 U.S.C. § 1692a(5).

20. Defendant has violated the FDCPA in connection with its attempts to collect on an

alleged consumer debt. Defendant’s violations include, but are not limited to, the following:

Case 1:12-cV-00005-CG-B Document 1 Filed 01/06/12 Page 5 of 10

A. Use of false, misleading or deceptive communications which state or imply that the
recipient is personally responsible for debts incurred by a deceased spouse. This is
a violation of 15 U.S.C. §§ 1692e, 1692e(2), 1692e(10), 1692c(b);

B. Making repeated attempts to collect upon a debt by communications with someone
other than the person who is responsible for the debt. This is a violation of 15 U.S.C.
§§ l692b, 1692b(2), 1692b(3), l6920(b);

C. Using unfair or unconscionable means to collect or attempt to collect a debt, to wit:
the false and misleading statements that state or imply that the recipient is personally
responsible for debts incurred by a deceased spouse. This is a violation of 15 U.S.C.
§§ 1692f and 1692f(l);

D. Engaging in communication with Plaintiff, the natural consequence of which is to
harass, oppress, or abuse Plaintiff in connection with the collection of a debt, This
is a violation of 15 U.S.C. § 1692d.

21. Some or all of the actions taken by DCM in violation of the FDCPA occurred within

one year of the filing prior to this action.

22. As a proximate result of DCM’s violations of the FDCPA, Plaintiff has suffered
actual damages, including mental and emotional pain, distress and anguish, humiliation and
embarrassment, as well as damages to his credit and reputation.

23. As a result of its violations of the FDCPA, Defendant is liable to Plaintiff for
compensatory damages, statutory damages, costs and attorneys fee, and for declaratory judgment
that Defendant’s conduct violated the FDCPA,

WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant
DCM for the following:

A. Actual damages, including damages for mental and emotional pain, distress and

anguish, humiliation and embarrassment, as well as damages to his credit and

reputation;

Case 1:12-cV-00005-CG-B Document 1 Filed 01/06/12 Page 6 of 10

B. Statutory damages pursuant to 15 U.S.C. § 1692k;
Costs and reasonable attorneys fees pursuant to 15 U.S.C. § 1692k;

D. Such other and further relief as this Court deems just and proper, the premises

considered

COUNT TWO
(Fair Debt Collections Practices Act Violations - Defendant Omnicare)

24. Plaintiffrealleges and incorporates each of the preceding paragraphs as if fully set out
herein.

25. This is a claim asserted against Defendant Omnicare for multiple violations of the
federal Fair Debt Collections Practices Act, 15 U.S.C. § 1692 et seq. (the “FDCPA”).

26. Defendant Omnicare is a “debt collector” as defined by the FDCPA, 15 U.S.C. §
1692a(6). The alleged debt which Omnicare attempted to collect from Plaintiff is a “debt” as defined
by the FDCPA, 15 U.S.C. § 1692a(5). 7

27. Defendant has violated the FDCPA in connection with its attempts to collect on an
alleged consumer debt. Defendant’s violations include, but are not limited to, the following:

A. Making repeated attempts to collect upon a debt without notifying Plaintiff that he
has the right to dispute the validity of the debt and the right to request written
verification of the debt as required by 15 U.S.C. § l692g(a);

B. Making repeated attempts to collect upon a debt without providing the required
notice that the communication is from a debt collector as required by 15 U.S.C. §
1692g(11);

C. Engaging in communication with Plaintiff, the natural consequence of which is to
harass, oppress, or abuse Plaintiff in connection with the collection of a debt. This
is a violation of` 15 U.S.C. § 1692d;

D. Attempting to collect amounts not owed by Plaintiff. This is a violation of 15 U.S.C.

§ § 1692f(4) and 1692f(1).

Case 1:12-cV-00005-CG-B Document 1 Filed 01/06/12 Page 7 of 10

E. Continued collection activities without providing validation of debt as required by
15 U.S.C. § 1692g(b).

F. Use of false, misleading or deceptive communications which state or imply that the
recipient is personally responsible for debts incurred by a deceased spouse. This is
aviolation of 15 U.S.C. §§ 1692e, 1692e(2), 1692e(10), 1692c(b);

G. Making repeated attempts to collect upon a debt by communications with someone
other than the person who is responsible for the debt, This is a violation of 15 U.S.C.

§§ 1692b, 1692b(2), 1692b(3), 1692¢(1»);

28. Some or all of the actions taken by Omnicare in violation of the FDCPA occurred
within one year of the filing prior to this action.

29. As a proximate result of DCM’s Violations of the FDCPA, Plaintiff has suffered
actual damages, including mental and emotional pain, distress and anguish, humiliation and
embarrassment, as well as damages to her credit and reputation.

30. As a result of its violations of the FDCPA, Defendant is liable to Plaintiff for
compensatory damages, statutory damages, costs and attorneys fee, and for declaratory judgment
that Defendant’s conduct violated the FDCPA,

WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant
Omnicare for the following:

A. Actual damages, including damages for mental and emotional pain, distress and
anguish, humiliation and embarrassment, as well as damages to his credit and
reputation;

B. Statutory damages pursuant to 15 U.S.C. 1692k;

C. Costs and reasonable attorneys fees pursuant to 15 U.S.C. § 1692k;

D. Such other and further relief as this Court deems just and proper, the premises

considered

Case 1:12-cV-00005-CG-B Document 1 Filed 01/06/12 Page 8 of 10

Q_(M
(Wantonness)
31. Plaintiffrealleges and incorporates all of the preceding paragraphs as if fully set out
herein.
32. The actions taken by the Defendants in attempting to collect the alleged debt against

Plaintiff constitute wantonness Those actions were made with a wanton_. reckless or conscious
disregard for Plaintiff` s rights and well-being. Plaintiff suffered damage as a proximate result of
Defendants’ wantonness

WHEREFORE, Plaintiff requests that this Court enter a judgment against Defendants for
wantonness and award Plaintiff compensatory damages, including damages for mental anguish and

emotional distress; and punitive damages, plus interest and costs. Plaintiff further requests such

 

 

NNETH J. RlEl\/IER (RlEl\/lKS?lQ)
nderwood & Riemer, P.C.
Attorney for Plaintiff
Post Office Box 1206
Mobile, Alabama 36633
Telephone: (251) 432»9212
Fax Number: (251) 433-7172
E-mail: kricmer@alaconsumerlaw.com

DEFENDANTS T() BE SERVED VlA CERTIFIED MAIL AS FOLLOWS:

DCM SERVICES, LLC

C/O CSC LAWYERS INCORPORATING SVC fNC
150 SOUTH PERRY STREET

MONTGOMERY, AL 36104

OMNICARE-UNICARE_ INC.,
700B FENTRESS BLVD
DAYTONA BEACH, FL 321 14

lllCDW

Case1:12-cV-00005-CG-B Documentl Filed 01/06/12 PageQ l EXH|B|T

v DCM Services, LLC § §
4150 OLSON MEMORIAL HWY STE 200

MINNEAPOLIS MN 55422-4811

 

llllllllllll|lllllllllll|lllll|l||lllllll||lllllll|llllllllllll|ll|lll||ll|lllllll|llllll|||ll||llllll|illl|lllllll

May 25, 2011

18739-111
#BWNJGZF
#1651714514315080#
.._.` To the Estate of .iANIcE owens
P}:;- .iANIcE owens
§ '.'- 151 FAIRniAY DR

DAPHNE AL BI:SEI=-'?\\IUB

Dear Sir or _Madam:

Our company represents Unicare Prattvi|le, and we have learned that JANICE OWENS has
passed away. We are sorry for your |oss, and we understand this is a difficult time for you.
Our goal is to make this process as effortless as possible for everyone involved.

Our C|ient:
Unicare Prattvllle Our records show that at present, there is an unpaid balance of $5934.20 on this account.
Because of interest, late chargesr and other charges that may vary from day to day, the
Account #: amount due on the day the Estate pays may be greater. Thus, if the_Estat_e pays the amount
»=***»=***9498 shown, an adjustment may be necessary after we receive payment, iri which event we will

inform you before depositing the check for collection. If a probate matter has been opened,

Reference #_ please accept this letter as a notice of claim on behalf of our client.

7329825 This letter is sent to you solely in your capacity as personal representative of the Estate of
_ JANICE OWENS. If you have opened this letter and you are not the personal representative,
Unpa'd Ba|¢'-‘»HCEZ please contact us with the name and address of the personal representative or attorney who
$5934.20 is handling the estate. Sirriply contact us by phone, enter the information on|ine at

www.DCMagent.com, or check the box below and complete the reverse side.

The following are payment options: Comp|ete the payment slip below and mail in the enclosed
postage paid envelope or call DCM Services toll-free at 1-877-326-5674 to pay using a check
or electronic debit. Additiona| payment options may also be available by phone; please ask
our representative for details.

Lastly, DCM Services is pleased to provide you with complimentary access to
www.MyWayForward.com, a unique website for survivors and those tasked with the

responsibility of handling the final affairs of the deceased Log on using code skpSazhj to lind
welcome assistance on linancial, legal and government matters, along with helpful information
on we|_l__-_b.eingjind. rememberingthe_cl,eceasecL1n11_\____1_w ,_ 1 , ,, ,, ,, -,

On behalf of Unicare Prattvil|e and DCM Services, please accept our condo|ences.
Sincereiy,

DCM Services, LLC

*IMPORTANT NOTICE*
Unless you notify this office within 30 days after receiving this notice that you dispute the
validity of this debtor any portion thereof, this office will assume the debt is valid. If you
notify this office in writing within 30 days after receiving this notice that you dispute the
7=00 am - 9:00 pm Ci' M-TH validity of this debt or any portion thereof, this oflice will obtain verification of the debt or a
7:00 am - 5:00 pm Ci‘ F copy of a judgment and mail you a copy of such judgment or verihcation. If you request of
B:OO am - 12:00 pm Cr s this ofiice in writing within 39 days after receiving this notice this ofhce will provide you with
Teiephone; 753-35:)_-3640 the name and address of the original creditor, if different from the current creditor.
Tol|-Free: 877-326-5674 _
Fax: 877_326_8784 DCM Services is a debt collector. We are attempting to collect a debt and any information
obtained will be used for that purpose. Ca||s may be monitored or recorded for quality
assurance purposes
NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION -Side 1 of 2-

 

V‘BZ€HDDDDD

OMNlCARE - UNlCARE lNC.

`E\`\\i,é/'?= 7005 FENTRESS BLVD

DAYTONA BEACH, FL 32114

l. ..
EJWE RETURN SERVlCE REQUESTED 30975

For billing inquiries please cal|:
00657301°* 800-965-3974

You may also view/pay your bills at:
https:i'i'myomniview.omnicare.com

"l|l|l||!l|||llll}ll||lll]i|lll"ll"i|llu|ll|ll|\hl||illllllz

JENE OWENS
151 FA|RWAY DR

DAPHNE, AL 36526-7403

KEEP ?."Eilf-i PORTION FOR YOUFi RECORDS » RETUFiN i;*-€.Z>”l"é'¢'§.iiitl STUB WlTH PAYMENT

ease 1:12-cv-oooos-co-B Docume 1 FEé§!'thEii!'e/lz age 10 of 10

§ § STATEMENT

 

 

 

 

 

OF ACCOUNT
PAGE: 1 of 1
ACCOUNT NO: 89498
lNVOlCE NO: 566244
lNVOlCE DATE: 11/30!2011
FAC|L|TY: 3186 ROBERTSDALE HEALTH t
PAT|ENT NO: 89498
PAT|ENT NAlVlE: OWENS, JAN|CE
FAClLl`l`Y CUSTO|V|ER#: C
AiVlOUNT DUE: 5934.20
oquArE: 12/30/2011
AMouNTDuE: 5934.20
ansis*roeireavoooioi

3DG17FFA5:1.1

|ll|lll|iillllllill|ill|lll|llllllllllllllm|n|li||lllllll|lll|lll

 

 

 

 

 

 

 

 

 

 

 

 

 

nine rex No. oEsciiiPrioii BiLt cone iii)c iio. nuAiiT Aiiouin TYPE
l`viessages
PREvious BAtAiicE PAYi»isiirs cREnir/Ai>iusriisiirs i:uRiiEiir ciiARcEs nix riiiiiiici~: ciiARsE tom nu
5934.20 0.00 0.00 0.00 0.00 o.oo 5934.21:
l~
ro iNsune Pi=ioi=en ceeoir, pamela AND earnest THis Ponrion iN THE eNci_osEo EnveLoPe. 3°976 TDG"B‘°’°A°°°W

§ Please check ll above address is incorrect and indicate change on reverse side.

ACCOUNT NO:
!NVO|CE NO:

|NVO|CE DATE:
FAClL|TY:

PAT|ENT NO:

PAT|ENT NAME:
FAC|LlTY CUSTO|V|ER#:
AMOUNT DUE:

Ai\!lOUN`l' ENCLOSED 33

89498

566244

1 1130/2011

3186 ROBERTSDALE HEALTH CAR
89498

OWENS, JAN|CE

C

5934.20

CHECK CARD USlNG FOR PAYMENT
discovch m l*l_\.\ l ij
`r' MAS?ERCAHD ` DESCGVEH l ,,,' VISA
C!\RD NUMHEH

 

EE,B-

|i'-' PAY|NG BV MASTEF\CARD, DlSCOVEFl,V|SA OFI AMEF||CAN EXPHESS. FlLl. OUT BELOW.

AMFF\|(A?:£
W""$' AMei‘iic::ii»i EerREsS

 

S|GNAIUF\E

 

EXP, Uart

 

 

 

- _`-ii._iAitE'ici¢iEci<_PAYAei__E&'_n_i§ii_iinfro:` _ - '

ll|h|l""llll||ll|l“l|"11|"|"tllli|llll|"l“|l"lll:l|"l|
OMN|CARE PHARMACY

PO BOX 713400
ClNClNNATl, Ol'l 45271-3400

UUUU|J|JU[IB”l'~l°lBEl'.lDlJlJEl=l=E\llilliElGA].PRV‘=lU|]lJE‘:lBLlED'-l

